EXHIBIT B
      CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

      DANIEL B. O’LEARY (“Plaintiff’) declares:
       1.    Plaintiff has reviewed a complaint and authorized its filing. Plaintiff
has authorized the filing of a motion for appointment as lead plaintiff.
      2.     Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiffs counsel or in order to participate in this private action or
any other litigation under the federal securities laws.
       3.     Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
      4.      Plaintiff has made the following transaction(s) during the Class Period
in the securities that are the subject of this action:
Security               Transaction                Date              Price Per Share

                               See attached Schedule A.

       5.     Plaintiff has not sought to serve or served as a representative party in
a class action that was filed under the federal securities laws within the three-year
period prior to the date of this Certification except as detailed below:
                                          None.

       6.     Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond the Plaintiffs pro rata share of any recovery,
except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
     I declare under penalty of perjury that the foregoing is true and correct.
              ^T^day of September, 2t)19.
Executed this                                   \

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                                                     DANIEL B. O’LEARY            /;




                                                                                 L BRANDS
                                                  SCHEDULE A

                                         SECURITIES TRANSACTIONS

                             Stock

                             Date                       Amount of
                           Acquired                   Shares Acquired    Price

                          11/09/2018                       3,116        $36.25
                          11/12/2018                       3,447        $37.60
                          11/12/2018                       2,906        $37.60
                          11/12/2018                       4,525        $37.60
                          11/12/2018                       1,202        $37.60
                          11/12/2018                       1,328        $37.60

Prices listed are rounded up to two decimal places.
